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UNITED STATES DISTRICT COURT
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SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - X
                                                 :
UNITED STATES OF AMERICA                         :    ORDER
                                                 :
     - v. –                                      :    21 Cr. 575 (VM)
                                                 :
 ARACELIS SOSA-URENA,                            :
                                                 :
                            Defendant.           :
                                                 :
- - - - - - - - - - - - - - - - -                X

VICTOR MARRERO, U.S.D.J.:


        On    November     12,   2021,    Aracelis    Sosa-Urena       (“Sosa-Urena”)

filed a letter motion for release on the basis that conditions

could be imposed to mitigate her flight risk. (See Dkt. No. 28.)

After reviewing Sosa-Urena’s motion, as well as the relevant

factual material in the record, the Court hereby DENIES Sosa-

Urena’s motion for conditional release.

        On September 9, 2021, Magistrate Judge Moses ordered WKDW

Sosa-Urena EH detained EHFDXVH VKH posed an acute flight risk.

(See Dkt. No. 20 at 28.) Specifically, Judge Moses EDVHG KHU

ILQGLQJ RQ         Sosa-Urena’s         three    removals     from      the    United

States,        including    RQH after      a    prison     sentence    for    illegal

entry    and      R Q H  ZKHUH VKH XVHG D        fake    passport. (See id. at

28-29.) Given 6RVD8UHQD V history, Judge Moses found that “there

are no conditions” to “‘reasonably assure’” that Sosa-Urena would

appear at future court proceedings. (See id. at 29).

     On October 7, 2021, Sosa-Urena filed a motion for release
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IURPFXVWRG\ 6HH'NW1R -XGJH1HWEXUQGHQLHGWKHPRWLRQ

on the basis that Sosa-Urena remained a flight risk. (See Dkt.

No. 24.) Sosa-Urena appealed Judge Netburn’s order (see Dkt. No.

23), and thLV Court affirmed the finding. (See Dkt. No. 25.)

        The     Court     concludes        that     Sosa-Urena’s       present      motion

presents no new facts or arguments to warrant a different outcome

from    the     Court’s      previous        denial      of      KHU release.            The

Magistrate         Court       considered           imposing     conditions        as      an

alternative       to     detention     and        concluded    no      condition        could

mitigate Sosa-Urena’s flight risk. (See Dkt. No. 20 at 29.) This

Court    has     already    found     no    compelling        reason    to    upset      this

conclusion.        (See    Dkt.     No.      25.)     Additionally,          Sosa-Urena’s

arguments        that     release     is      “necessary        for     her     efficient

preparation for trial, [to] stabilize her family and to enable

her to pursue her pending applications and petitions before the

United        States    Citizenship        and     Immigration      Service”       do     not

change W K H  & R X U W      V  G H W H U P L Q D W L R Q  that Sosa-Urena is

a   flight        risk     warranting        detention.        Therefore,        the      Court

denies Sosa-Urena’s motion for conditional release.

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